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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

SUANNE M. CLAYTON                              :
                                               :
               Plaintiff,                      :
                                               :
v.                                             :      CIVIL ACTION NO.
                                               :      2:12-CV-237-WCO-JCF
DR. JAMES CRAIG; SOUTHERN                      :
HEALTH CORP. OF ELLIJAY, INC.                  :
d/b/a NORTH GEORGIA MEDICAL                    :
CENTER; and SUNLINK HEALTH                     :
SYSTEMS, INC.,                                 :
                                               :
               Defendants.                     :


           ORDER AND NON-FINAL REPORT AND RECOMMENDATION

        Plaintiff Suanne Clayton is a nurse who worked for Defendant Southern

Health Corporation of Ellijay, Inc., d/b/a North Georgia Medical Center (“Southern

Health”) with Defendant Dr. James Craig. 1 Defendant SunLink Health Systems,

Inc. (“SunLink”) is Southern Health’s parent company.

        Plaintiff alleges that while she worked with Dr. Craig, he was involved in an

open sexual relationship with the office’s nurse supervisor, Meredith Holmes.

(Doc. 11 at ¶ 23). She further alleges that Ms. Holmes was hired to supervise other

nurses even though she had no nursing license and that her sexual relationship with


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    These facts are set forth in Plaintiff’s First Amended Complaint. (Doc. 11).
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Dr. Craig secured her this supervisory position. (Id. at ¶ 21). Plaintiff claims she

was required to cover patients for Dr. Craig while he had sex with Ms. Holmes at

the office during work hours. (Id. at ¶ 23).

      Plaintiff also asserts that she was subjected to pervasive sexual comments,

innuendo, and lewd gestures while working at Dr. Craig’s office. (Id. at ¶ 22). She

claims Dr. Craig rubbed Ms. Holmes between the legs and engaged in other sexual

touching in Plaintiff’s presence. (Id. at 23). She alleges Dr. Craig showed off

pictures of himself “dressed only in his underwear” and that he displayed panties

belonging to Ms. Holmes that were inscribed with the phrase “I love Dr. Craig.”

(Id. at ¶ 23). Dr. Craig also allegedly called her a whore. (Id.). And, finally, Dr.

Craig purportedly “teased Plaintiff about being a prude, and suggested that she

should be open to having a sexual affair despite being married.” (Id.).

      Plaintiff maintains that she objected to Holmes and Craig, and when they did

not respond, she shared her concerns with Defendant Southern Health. (Id. at ¶ 25).

In response to Plaintiff’s complaints, Dr. Craig then fabricated a story that Plaintiff

had been involved in an affair with a patient, which Southern Health adopted. (Id.

at 28). At that point Southern Health terminated Plaintiff after having failed to

investigate the situation properly. (Id. at ¶ 30).

      This case is currently before the Court on motions to dismiss filed by Craig

(Doc. 5) and SunLink (Doc. 6), along with Defendant Southern Health’s partial


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motion to dismiss for failure to state a claim (Doc. 7) and motion for a more

definite statement (Doc. 8). After Plaintiff filed her Amended Complaint (Doc.

11), each Defendant filed a motion to dismiss the Amended Complaint, (Docs. 17,

18, 19). Defendants have also filed a joint motion to stay discovery. (Doc. 21).

Because Plaintiff’s Amended Complaint supersedes her original Complaint, it is

RECOMMENDED that Defendants Dr. James Craig and SunLink’s motions to

dismiss (Docs. 5, 6) and Southern Health’s partial motion to dismiss for failure to

state a claim (Doc. 7) and its motion for a more definite statement (Doc. 8) be

DENIED as moot.

      As is explained below, it is further RECOMMENDED that the motions to

dismiss Plaintiff’s Amended Complaint (Docs. 17, 18, 19) be GRANTED in part

and DENIED in part such that the only claims which may proceed are Plaintiff’s

Title VII claims (Counts I, II and III) against Southern Health, her negligent hiring,

supervision, and retention claims against Southern Health that are based on actions

taken by Dr. Craig, (Count V), 2 her claim of tortious interference asserted against

Dr. Craig based on Dr. Craig’s alleged interference with Plaintiff’s relationship

with Southern Health 3 (Count VI), and her defamation claims (Count VII) against


2
  Defendant Southern Health did not move to dismiss Plaintiff’s Title VII claims
for sexual discrimination and retaliation or her negligent hiring, supervision and
retention claims to the extent those are based on the hiring, retention, and
supervision of Dr. Craig by Southern Health.
3
  As explained below, Dr. Craig did not move to dismiss Plaintiff’s tortious
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Defendants Craig and Southern Health. Defendants’ motion to stay discovery

(Doc. 21) is GRANTED, and discovery is STAYED until after the District Judge

rules upon the pending motions to dismiss.

                        PROCEDURAL BACKGROUND

      On October 9, 2012, Plaintiff filed her original Complaint in which she

alleged that Defendants Craig, Southern Health, and SunLink discriminated and

retaliated against her in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”). (See Doc. 1 at ¶¶ 28, 41).

Plaintiff also brings state law claims against all Defendants for sexual harassment,

retaliatory   termination,   negligent    hiring,   negligent   supervision,   tortious

interference, slander, libel, and defamation. (Id. at ¶ 2).

      Rather than answer the complaint, Dr. Craig and SunLink filed motions to

dismiss on December 10, 2012 (Docs. 5, 6) seeking to dismiss Plaintiff’s original

Complaint pursuant to FED. R. CIV. P. 12 (b)(6). That same day, Southern Health

filed a partial motion to dismiss for failure to state a claim (Doc. 7) and a motion

for a more definite statement (Doc. 8). On December 24, 2012, Plaintiff filed an

Amended Complaint (Doc. 11) in which she added a claim for intentional infliction


interference claim to the extent that it rests on Dr. Craig’s alleged interference with
Plaintiff’s relationship with Southern Health, but he did move to dismiss that claim
to the extent that it is based on his alleged interference with Plaintiff’s employment
opportunities and business relationships with the general public. (See Doc. 17-1 at
7-10).
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of emotional distress against all Defendants, and she also filed responses in

opposition to all of the Defendants’ motions to dismiss and Southern Health’s

motion for a more definite statement. (Docs. 12, 13, 14, 15).

      On January 7, 2013, all Defendants filed motions to dismiss (Docs. 17, 18,

19) challenges aspects of the Amended Complaint. In addition, Defendants jointly

filed a motion to stay discovery pending the resolution of Defendants’ motions to

dismiss. (Doc. 21). Plaintiff filed responses in opposition to all of the Defendants’

second round of motions on January 22, 2013 (Docs. 22, 23, 24, 25), and

Defendants’ jointly filed a reply on February 5, 2013 (Doc. 26).

I.    Motions Directed Towards The Original Complaint

      As a preliminary matter, Defendants’ motions to dismiss the original

Complaint and Southern Health’s motion for a more definite statement filed in

response to Plaintiff’s original Complaint need attention. (Docs. 5-8). Since

Plaintiff’s Amended Complaint supersedes the former pleading, the pending

motions to dismiss the original Complaint and Southern Health’s motion for a

more definite statement are moot. See Fuller v. SunTrust Banks, Inc., Civil Action

No. 1:11–CV–784–ODE, 2012 WL 1432306, at *15 n.5 (N.D. Ga. Mar. 20, 2012)

(“Plaintiff’s Amended Complaint … supercedes the former pleading and moots the

pending motions to dismiss the original complaint.”).              Accordingly, the

undersigned RECOMMENDS that Defendants’ motions to dismiss the original


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Complaint and Southern Health’s motion for a more definite statement (Docs. 5, 6,

7 & 8) be DENIED as moot.

II.   Motions To Dismiss The Amended Complaint

      Before addressing the motions challenging Plaintiff’s Amended Complaint,

it is worth observing that the Amended Complaint is a “typical ‘shotgun’ pleading”

of the type condemned by the Eleventh Circuit. See Thompson v. RelationServe

Media, Inc., 610 F.3d 628, 650 (11th Cir. 2010). Plaintiff sets forth seven “Causes

of Action,” each of which “repeats and realleges each and every allegation” in the

preceding paragraphs of the Amended Complaint. (See generally Am. Compl.,

Doc. 11). Having all of her allegations and preceding claims incorporated into

each subsequent claim makes determining which particular factual allegations

might plausibly support each claim a difficult task.

      A. Motion to Dismiss Standard

      Rule 8(a)(2) requires that a complaint contain “a short and plain statement of

the claim showing that the pleader is entitled to relief.” See FED. R. CIV. P. 8(a)(2).

That standard “does not require ‘detailed factual allegations,’ but it demands more

than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007)).

      To state a claim that can survive a motion to dismiss, “a complaint must


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contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’ ” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

570). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678-79. A complaint is

not sufficient “if it tenders [only] ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’ ” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555, 557).

To be plausible, a complaint must contain “well-pleaded facts” that “permit the

court to infer more than the mere possibility of misconduct.” Iqbal, 556 U.S. at

679. Furthermore, “[f]actual allegations must be enough to raise a right to relief

above the speculative level on the assumption that all the allegations in the

complaint are true (even if doubtful in fact).” Twombly, 550 U.S. at 555 (internal

citations omitted); see also Boyd v. Peet, 249 Fed. Appx. 155, 157 (11th Cir. 2007)

(unpublished decision) (affirming the district court’s order granting a motion for

judgment on the pleadings and explaining that “[t]he complaint’s allegations must

plausibly suggest that the defendant has a right to relief, raising that possibility

above a ‘speculative level’; if they do not, the plaintiff’s complaint should be

dismissed”).

      B. Title VII (Counts I, II, III)

      Plaintiff alleges Title VII claims against each Defendant.            These are

considered below in turn.


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             1. Plaintiff’s Title VII claims against Dr. Craig

      In his motion to dismiss, Dr. Craig asserts that there is no individual liability

under Title VII and therefore Plaintiff’s Title VII claims against him must be

dismissed. (See Doc. 17-1 at 3). The Eleventh Circuit has repeatedly recognized

that “[t]here is no individual liability under Title VII.” Keaton v. Cobb County,

545 F. Supp. 2d 1275, 1315 (N.D. Ga. 2008); see also Dearth v. Collins, 441 F.3d

931, 933 (11th Cir. 2006) (“[R]elief under Title VII is available against only the

employer and not against individual employees whose actions would constitute a

violation of the Act, regardless of whether the employer is a public company or a

private company.”); Busby v. City of Orlando, 931 F.2d 764, 772 (11th Cir. 1991)

(“Individual capacity suits under Title VII are similarly inappropriate. The relief

granted under Title VII is against the employer, not individual employees whose

actions would constitute a violation of the Act.”).

      In response, Plaintiff admits that she was “directly employed by Southern

Health” but she contends that “there is insufficient evidence to establish that Dr.

Craig is not properly named as a party in [her] Title VII claims.” (Doc. 22 at 3).

This contention misses the point and impermissibly places the burden on Dr. Craig

to prove that he was not her employer under Title VII. At this stage of the

proceedings, Plaintiff was required to allege facts that plausibly support an

inference that Dr. Craig was her employer to state a claim against him under Title


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VII.   She did not do so.         Although Plaintiff alleged that Dr. Craig was her

employer, (Doc. 11 at ¶ 7), she did so only in the most conclusory fashion. In fact,

other allegations flatly suggest Dr. Craig was not her employer. For example, she

claims she was “employed by Defendant Southern Health Corporation whose

primary responsibilities [were] to Defendant Dr. James Craig’s Family Practice

located within facilities maintained by Southern Health Corporation.” (Id. at ¶ 18).

Elsewhere in the Complaint, she alleges that, like herself, Dr. Craig was employed

by Southern Health. (Id. at ¶ 57). Under these circumstances, she has provided no

basis for a reasoned conclusion that Dr. Craig was her employer. South Fla. Water

Mgmt. Dist. v. Montalvo, 84 F.3d 402, 409 n. 10 (11th Cir.1996) (“As a general

rule, conclusory allegations and unwarranted deductions of fact are not admitted as

true in a motion to dismiss.”).

       Accordingly, because Plaintiff has not alleged facts that support a conclusion

that Dr. Craig was her employer for Title VII purposes, and with there being no

individual liability under Title VII, the undersigned RECOMMENDS that Dr.

Craig’s motion to dismiss be GRANTED as to all of Plaintiff’s Title VII claims.

             2. Plaintiff’s Title VII Claims Against Southern Health

       As an initial matter, it is worth emphasizing that Southern Health has not

moved to dismiss Plaintiff’s Title VII sexual discrimination (Count I) or retaliatory

termination (Count III) claims. (See Doc. 19-1 at 3). Therefore, the only Title VII


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claim which warrants discussion is Plaintiff’s sexual harassment claim (Count II).

      In moving to dismiss, Southern Health argues that Plaintiff’s Title VII

sexual harassment claim fails to state a claim for relief because she has not

sufficiently alleged a hostile work environment.       (See Doc. 19-1 at 3).      In

opposition, Plaintiff points out she alleged a “pattern of on-going and persistent

harassment, which included lewd comments, sexual touching, and displays of

sexual photographs.” (Doc. 24 at 5).

      Title VII provides that it is an unlawful employment practice for an

employer “to fail or refuse to hire or to discharge any individual, or otherwise to

discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual=s race, color,

religion, sex, or national origin[.]” 42 U.S.C. § 2000e-2(a)(1). Although “sexual

harassment” is not explicitly mentioned in Title VII, “it has long been settled that

the statutory phrase ‘terms, conditions, or privileges of employment’ includes

within its scope a discriminatorily hostile or abusive environment.” Hulsey v.

Pride Rests., LLC, 367 F.3d 1238, 1244 (11th Cir. 2004); Mendoza v. Borden, Inc.,

195 F.3d 1238, 1244 (11th Cir. 1999) (en banc) (“Title VII does not mention

sexual harassment. Nevertheless, the Supreme Court and this Court long have

recognized that the phrase ‘terms, conditions, or privileges of employment’ evinces

a congressional intent to strike at the entire spectrum of disparate treatment of men


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and women in employment, which includes requiring people to work in a

discriminatorily hostile or abusive environment.” (quoting Harris v. Forklift

Systems, Inc., 510 U.S. 17, 21 (1993)).

      To establish a hostile work environment sexual harassment claim under Title

VII, the plaintiff must show: (1) that he or she belongs to a protected group; (2)

that the employee has been subject to unwelcome sexual harassment, such as

sexual advances, requests for sexual favors, and other conduct of a sexual nature;

(3) that the harassment must have been based on the sex of the employee; (4) that

the harassment was sufficiently severe or pervasive to alter the terms and

conditions of employment and create a discriminatorily abusive working

environment; and (5) a basis for holding the employer liable. Mendoza, 195 F.3d

at 1245. “Establishing that harassing conduct was sufficiently severe or pervasive

to alter an employee’s terms or conditions of employment includes a subjective

and an objective component.” Id. at 1246. There is no dispute, at this stage of the

litigation, that Plaintiff has alleged that she found the environment hostile.

      The issue is whether she has alleged facts that satisfy the objective

component. The factors utilized by courts to evaluate the objective reasonableness

of an employee’s perception that conduct is so severe or pervasive as to alter the

terms and conditions of employment include “(1) the frequency of the conduct; (2)

the severity of the conduct; (3) whether the conduct is physically threatening or


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humiliating, or a mere offensive utterance; and (4) whether the conduct

unreasonably interferes with the employee’s job performance.” Mendoza, 195

F.3d at 1246.

      Plaintiff alleges that while she worked with Dr. Craig, he and nurse

supervisor Holmes were engaged in an open sexual relationship. (Doc. 11 at ¶ 23).

The Amended Complaint states that Dr. Craig showed off pictures of himself

“dressed only in his underwear” and that he displayed panties belonging to Ms.

Holmes that were inscribed with the phrase “I love Dr. Craig.” (Id.). Plaintiff

claims she was required to cover patients for Dr. Craig while he had sex with Ms.

Holmes at the office during work hours.         (Id.). She further alleges she was

subjected to pervasive sexual comments, innuendo, and lewd gestures while

working at Dr. Craig’s office. (Id. at ¶ 22). In particular, she claims Dr. Craig

rubbed Ms. Holmes between the legs and engaged in other sexual touching in

Plaintiff’s presence. (Id. at ¶ 23). She also claims he called her a whore. (Id.).

And, finally, Dr. Craig allegedly “teased Plaintiff about being a prude, and

suggested that she should be open to having a sexual affair despite being married.”

(Id.). In light of the foregoing, the undersigned concludes that Plaintiff has alleged

sufficient facts to state a plausible claim for sexual harassment.

      The primary argument Southern Health raises in its motion to dismiss is that

the actions alleged by Plaintiff do not rise to the level of a hostile work


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environment. (See Doc. 19-1 at 3-5). The doctor in charge allegedly had sex with

a nurse supervisor at work during office hours while requiring Plaintiff to cover for

patients. When these allegations are considered in connection with alleged display

of photos of Dr. Craig in his underwear, a display of panties inscribed with “I love

Dr. Craig,” and Dr. Craig’s alleged suggestion that Plaintiff should be open to

having an affair, Plaintiff has met her burden at the this stage of the litigation.

      Accordingly, the undersigned RECOMMENDS that Southern Health’s

motion to dismiss Plaintiff’s Title VII sexual harassment claim be DENIED.

             3. Plaintiff’s Title VII Claims Against SunLink

      SunLink, the parent of Southern Health, asserts “it is entitled to dismissal of

Plaintiff’s Title VII claims against it because [it] was not named in Plaintiff’s

original EEOC Charge of Discrimination.” (Doc. 18-1 at 3). “Although the

Eleventh Circuit liberally construes the naming requirement of Title VII, a

subsequent civil action may not be brought against an individual not named in an

EEOC charge.” Frazier v. Smith, 12 F. Supp. 2d 1362, 1368 (S.D. Ga. 1998).

That naming precondition “serves to notify the charged party of the allegation and

allows the party an opportunity to participate in conciliation and voluntarily

comply with the requirements of Title VII.” Virgo v. Riviera Beach Assoc., Ltd.,

30 F.3d 1350, 1358 (11th Cir. 1994). “Only where the purposes of Title VII have

been fulfilled may such an action be brought against an individual who was not


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named in the EEOC charge.” Frazier, 12 F. Supp. 2d at 1369. In determining

whether the purposes of Title VII are met, this Court considers several factors,

including:

             (1) the similarity of interest between the named party and the
             unnamed party; (2) whether the plaintiff could have
             ascertained the identity of the unnamed party at the time the
             EEOC charge was filed; (3) whether the unnamed parties
             received adequate notice of the charges; (4) whether the
             unnamed parties had an adequate opportunity to participate
             in the reconciliation process; and (5) whether the unnamed
             party actually was prejudiced by its exclusion from the
             EEOC proceedings.

Virgo, 30 F.3d at 1359.     “The burden is on the plaintiff to explain why the

individual was not named and to demonstrate that the purposes of Title VII have

been satisfied regardless of the omission.” Frazier, 12 F. Supp. 2d at 1369 (citing

Hulsey v. Gunn, 905 F. Supp. 1067, 1071 (N.D. Ga. 1995)).

      SunLink claims Plaintiff “has not and cannot demonstrate that SunLink

received adequate notice of the EEOC charge or had the opportunity to participate

in the EEOC investigation” and that “Plaintiff has provided no justification for her

failure to name [SunLink in her EEOC charge] at the outset of the EEOC

proceeding.” (Doc. 18-1 at 5).

      In opposition, Plaintiff contends SunLink was placed sufficiently on notice

by Plaintiff’s initial EEOC charge to make it a proper party to this action. To

support this contention, Plaintiff argues that there is a sufficient similarity of


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interest between SunLink and Southern Health because SunLink is the parent

corporation of Southern Health. (Doc. 23 at 4). Additionally, Plaintiff asserts

“SunLink has not alleged that it did not receive notice of the claim, that it did not

have an adequate opportunity to participate in the EEOC process, nor that it was

prejudiced by its exclusion from those proceedings.” (Id.).

      Plaintiff misapprehends the burdens placed on the respective parties at this

stage of the litigation. Plaintiff contends, without citing authority, that SunLink

must show that it did not receive notice of the claim. To the contrary, Plaintiff

must “explain why the individual was not named and to demonstrate that the

purposes of Title VII have been satisfied regardless of the omission.” Frazier, 12

F. Supp. 2d at 1369. Rather than make any effort to do so, Plaintiff has merely

argued that as Southern Health’s parent, SunLink must have known about the

EEOC charge. To adopt such a rule would create the ability to sue multiple

vertically-related business entities with a single EEOC charge. This result is at

odds with governing law. It appears that for a charge to be applied to an unnamed

parent, that parent must have either had actual notice or have actively participated

in the EEOC process. See DiGiro v. Pall Corp., 993 F. Supp. 1471, 1475 (M.D.

Fla. 1998) (denying parent corporation’s motion to dismiss pro se plaintiff’s

complaint where attorney for parent corporation appeared before the EEOC in an

attempt to conciliate on behalf of a named defendant); see also Evans v. Meadow


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Steel Products, Inc., 572 F. Supp. 250, 255 (N.D. Ga. 1983) (denying dismissal for

failure to name in EEOC where parent corporation received notice of the charge).

Plaintiff has not alleged SunLink had actual notice of the EEOC charge or that it

participated in the process.

      Thus, because Plaintiff has not demonstrated that the purposes of Title VII

have been satisfied as to SunLink, the undersigned RECOMMENDS that

SunLink’s motion to dismiss be GRANTED as to all of Plaintiff’s Title VII

claims.

      C. State Law Claims

      Plaintiff also brings a variety of state law claims against all Defendants.

             1. Intentional Infliction of Emotional Distress (Count IV)

      Plaintiff alleges that all Defendants are liable for intentional infliction of

emotional distress. The undersigned will consider whether Plaintiff has stated a

claim against each Defendant in turn.

                    a. Plaintiff’s claim against Dr. Craig

      To prevail on a claim of intentional infliction of emotional distress, Plaintiff

must show: (1) the conduct was intentional or reckless; (2) the conduct was

extreme and outrageous; (3) there is a causal connection between the wrongful

conduct and the emotional distress; and (4) the emotional distress is severe. See

Hendrix v. Phillips, 207 Ga.App. 394, 428 S.E.2d 91, 92 (1993). Whether a


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defendant’s actions rose to the requisite level of outrageousness is a question of

law to be determined by the court. Yarbray v. S. Bell Tel. & Tel. Co., 261 Ga. 703,

409 S.E.2d 835, 838 (1991). “The burden on a plaintiff asserting a claim for

intentional infliction of emotional distress is heavy.” Durley v. APAC, Inc., 236

F.3d 651, 658 (11th Cir. 2000).

      Among the factors to be considered are “the existence of a relationship in

which one person has control over another; the actor’s awareness of the victim’s

particular susceptibility; and the severity of the resultant harm.” Trimble v. Circuit

City Stores, Inc., 220 Ga.App. 498, 469 S.E.2d 776, 778 (1996) (internal citations

omitted).   Georgia courts have recognized that “the existence of a special

relationship in which one person has control over another, as in [an] employer-

employee relationship, may produce a character of outrageousness that might

otherwise not exist.” Jones v. Fayette Family Dental Care, Inc., 312 Ga.App. 230,

232, 718 S.E.2d 88, 90 (2011) (citation omitted).          Even where there is an

employment relationship a “major outrage in the language or conduct complained

of is essential to the tort.” Smith v. Akstein, 408 F. Supp. 2d 1309, 1336 (N.D. Ga.

2005). To sustain a claim, the “actions must have been so terrifying as naturally to

humiliate, embarrass or frighten the plaintiff.” Id., 408 F. Supp. at 1335.

      The allegations present here do not meet the demanding burden placed upon

a Plaintiff to plead claim of intentional infliction of emotional distress.        In


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particular, the allegations do not satisfy the “extreme and outrageous” element of

her claim.   Plaintiff identifies two types of conduct to try to show that the

challenged conduct was outrageous. On the one hand, she claims that Craig falsely

accused her of having an affair with a patient and abandoning her job duties so that

she could be fired under false pretenses. (See Am. Compl. at ¶ 54). This category

of conduct fails because an at-will employee may not maintain a claim for

intentional infliction of emotional distress for her termination. See Farrell v. Time

Serv., Inc., 178 F. Supp. 2d 1295, 1299 (N.D. Ga. 2001) (“Where, however, the

intentional infliction of emotional distress claim directly stems from the

termination [of an at-will employee] and is clearly not independent of the

severance of employment, then plaintiff's claim should be dismissed.”) (internal

quotation omitted).

      Plaintiff’s other allegations are related to the sexually-charged environment

at the office. She alleges that Dr. Craig, the supervisor over the office, forced

Plaintiff to cover for patients while Dr. Craig and Ms. Holmes engaged in sexual

acts in the office during work hours; that he displayed photos of himself wearing

only his underwear and that he showed off panties belonging to Ms. Holmes

inscribed with “I love Dr. Craig;” that he emailed provocative pictures and used

lewd and sexually charged language; and, finally, that he teased Plaintiff for being

a prude and encouraged her to have an extra-marital affair. (See Am. Compl. at ¶


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22-23).

      Even in the employment context, the law requires “major outrage” for the

tort to be complete. Smith, 408 F. Supp. 2d at 1336. Where a superior engages in

both direct abuse and unwanted touching, the requisite outrage has been found.

See Trimble, 469 S.E.2d at 777–78 (finding that the plaintiff had stated a claim for

intentional infliction of emotional distress based on allegations that the plaintiff’s

supervisor sexually harassed her by hugging and rubbing against her, ridiculing her

in front of other employees, and placing his hands down her skirt, and that after she

complained of the harassment, the defendant continued the pattern of harassment

by “deliberately altering and removing her sales figures upon which commissions

were figured, requiring [her] to work extremely long hours with no days off,

ordering her to lift television consoles in excess of 25 pounds, refusing to

compensate her for overtime, and forcing her to perform price comparisons at

competitors more often than other sales personnel, reducing her volume of

commission sales”).

      Not all acts of unwanted physical contact of a sexual nature are outrageous

enough to state a claim of intentional infliction of emotional distress, however. See

MARTA v. Mosley, 280 Ga. App. 486, 491 (2006) (physical precedent only)

(plaintiff failed to set out a prima facie case on the element of outrageousness

based on evidence that her work supervisor pulled her toward him, so that her


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backside was compressed against the front of his body, rubbed his hand along her

side between her waist and underarm, squeezed her waist, moaned and then

smiled; the defendant’s conduct was an isolated instance that lasted two seconds,

occurred in public and in the presence of other employees, and was not physically

threatening). Statements and innuendo alone have been held insufficient to state a

claim. Hendrix v. Phillips, 207 Ga.App. 394, 394–395 (1993) (no prima facie case

on the element of outrageousness where co-worker showed plaintiff a hole in the

crotch of his pants and asked if she would like to staple it closed and made other

sexually offensive remarks and gestures).

     For sexual conduct in the office setting to meet the demanding standard of

outrageousness, it must be truly extreme. By way of example, a plaintiff who is

subjected to seeing a supervisor’s genitals stands a fighting chance of showing the

conduct is outrageous. See, e.g., Mangrum v. Republic Indus., Inc., 260 F. Supp.

2d 1229, 1256 (N.D. Ga. 2003) aff’d, 88 Fed. Appx. 390 (11th Cir. 2003) (act of

allegedly exposing himself to plaintiff was “arguably extreme and outrageous

enough to meet the Georgia standard” (emphasis added)); Jones v. Fayette Family

Dental Care, Inc., 312 Ga. App. 230, 232 (2011) (refusing to say that act of dentist

masturbating in a public hallway of his office was not outrageous as a matter of

law, but finding claim failed due to lack of severe emotional distress (emphasis

added)).


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       Viewing Plaintiff’s allegations against this backdrop of authority exposes

their shortcomings. Plaintiff alleges specifically that Dr. Craig and Ms. Holmes

engaged in sex at the office, but she does not allege that she heard or viewed that

activity.   Furthermore, although she refers to Dr. Craig rubbing Ms. Holmes

between the legs, she does not allege that Dr. Craig ever touched Plaintiff. (See

Doc. 11 at ¶ 23a (“Dr. Craig rubbed Ms. Holmes between the legs and engaged in

other sexual touching with her in the office in Plaintiff’s presence”)). Under these

circumstances, the only sexual behavior allegedly directed towards Plaintiff is what

she describes as “constant sexual comments, innuendo and teasing.” (Id. at ¶ 24.).

       The undersigned finds that the acts alleged here fall short of what is required

to meet the demanding standard of outrageousness to state a claim for intentional

infliction of emotional distress. Liability under this theory of recovery attaches

only where “the conduct is so outrageous in character, and so extreme in degree, as

to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.” Fayette Family Dental Care, Inc.,

312 Ga. App at 232. Plaintiff has alleged that Dr. Craig and Ms. Holmes had sex

at the office and that he told Plaintiff she should be open to having an affair – a

statement that could be understood as an invitation for Plaintiff to join them.

These allegations, though distasteful, especially considering the setting, simply do

not rise to the level of outrageousness that is required to state a claim for


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intentional infliction of emotional distress, and for that reason it is

RECOMMENDED that Craig’s motion to dismiss that claim be GRANTED.

                    b. Plaintiff’s claim against Southern Health

       Because Plaintiff has failed to state a claim for intentional infliction of

emotional distress against Dr. Craig, the undersigned RECOMMENDS that

Southern Health’s motion to dismiss Plaintiff’s intentional infliction of emotional

distress claim be GRANTED.

                    c. Plaintiff’s Claim against SunLink

       Plaintiff’s claim against SunLink for intentional infliction of emotional

distress is similar to the one she raises against Southern Health. (See Am. Compl.

at ¶¶ 57, 58, 59). Because Plaintiff has failed to state a claim for intentional

infliction   of   emotional    distress   against   Dr.   Craig,   the    undersigned

RECOMMENDS that SunLink’s motion to dismiss be GRANTED as to

Plaintiff’s claim for intentional infliction of emotional distress against SunLink.

             2. Negligent Hiring, Retention, and Supervision (Count V)

       Plaintiff has brought claims for negligent hiring, retention, and supervision

against all Defendants.

                    a. Plaintiff’s claims against Dr. Craig

       In her Amended Complaint, Plaintiff alleges that Dr. Craig “breached [his]

duty to properly hire, retain, and provide proper supervision over health care


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personal [sic] when [he] allowed an unlicensed professional, Meredith Holmes, to

perform the duties of a nurse ….” (Am. Compl. at ¶ 63). According to Plaintiff,

hiring Ms. Holmes caused her to suffer special damages, including loss of wages,

benefits of employment, and medical expenses because Ms. Holmes frequently

committed errors with patients which caused Plaintiff stress and which also caused

Dr. Craig to blame Plaintiff for Ms. Holmes’s errors. (Id. at ¶¶ 65-66).

      In opposition, Dr. Craig argues that Plaintiff’s claims concerning Ms.

Holmes fail as a matter of law because there is no causal connection between “Ms.

Holmes’ alleged employment incompetency (lack of nursing license) and

Plaintiff’s alleged injury (lost wages, benefits of employment, and medical

expenses).” (Doc. 19-1 at 9). This point is well taken.

      “A claim for negligent hiring, retention or supervision brought pursuant to

Georgia law arises when an employer negligently hires, retains or supervises an

employee and that employee subsequently harms the plaintiff.” Farrell v. Time

Serv., Inc., 178 F. Supp. 2d 1295, 1300 (N.D. Ga. 2001) (internal quotation marks

omitted). “To establish a negligent retention or supervision claim, the plaintiff

must show that the employer knew or should have known it was ‘foreseeable from

the employee’s tendencies or propensities that the employee could cause the type

of harm sustained by the plaintiff.’ ” Dehaan v. Urology Center of Columbus,

LLC, No. 4:12–CV–06 (CDL), 2012 WL 1300554, at *2 (M.D. Ga. Apr. 16, 2012)


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(quoting Drury v. Harris Ventures, Inc., 302 Ga.App. 545, 548, 691 S.E.2d 356,

359 (Ga. Ct. App. 2010) (internal quotation marks omitted)). Thus, the relevant

question “is whether [Dr. Craig] knew or in the exercise of ordinary care should

have known that [Ms. Holmes], the employee [he] hired and retained to perform

[nursing duties], was unsuitable for that position because [she] posed a reasonably

foreseeable risk of personal harm to [nurses] like [Plaintiff].” Munroe v. Universal

Health Servs., Inc., 596 S.E.2d 604, 607 (Ga. 2004).

      Here, the undersigned finds that Plaintiff’s claim against Dr. Craig fails as a

matter of law. “A claim of negligent retention [supervision, or hiring] is derivative

of an underlying tort claim.” Canty v. Fry’s Electronics, Inc., 736 F. Supp. 2d

1352, 1379 (N.D. Ga. 2010).        Plaintiff does not identify the underlying tort

forming the basis of her negligent hiring, retention, and supervision claim other

than to say that Ms. Holmes “frequently made errors and omissions with patients at

Dr. Craig’s office” (Am. Compl. at ¶ 65), nor does she plead or argue that such

conduct amounted to any recognized tort under Georgia law. Canty, 736 F. Supp.

2d at 1380 (dismissing plaintiff’s negligent supervision claim where plaintiff did

not plead a basis for the underlying tort). Furthermore, while Plaintiff asserts in

her response in opposition to Dr. Craig’s motion to dismiss that Ms. Holmes’s lack

of a nursing license contributed to a hostile work environment (see Doc. 23 at 11),

Plaintiff has failed to allege any facts to suggest a causal connection between Ms.


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Holmes’s lack of a nursing license and Plaintiff’s injuries from a hostile work

environment, nor has she offered any basis to conclude that Dr. Craig knew or

should have known that Ms. Holmes’s lack of a nursing license posed a

foreseeable risk of personal harm to Plaintiff by reason of a hostile work

environment. See Breland v. City of Centerville, Georgia, Civil Action No. 5:07-

cv-27(CAR), 2008 WL 2233595, at *6 (M.D. Ga. May 28, 2008) (There must be

evidence of “a causal connection between the employee’s particular incompetency

for the job and the injury sustained by the plaintiff … The employer is subject to

liability only for such harm as is within the risk.”) (quoting Munroe, 596 S.E.2d at

606).

        Accordingly, the undersigned RECOMMENDS that Dr. Craig’s motion to

dismiss be GRANTED as to Plaintiff’s claim for negligent hiring, retention, and

supervision.

                   b. Plaintiff’s claims against Southern Health

        Plaintiff appears to allege two separate theories of negligent hiring,

retention, and supervision against Southern Health. First, as she did with respect to

Dr. Craig, Plaintiff asserts that Southern Health “breached [its] duty to properly

hire, retain, and provide proper supervision over health care personal [sic] when

[it] allowed an unlicensed professional, Meredith Holmes, to perform the duties of

a nurse ….” (Am. Compl. at ¶ 63). According to Plaintiff, hiring Ms. Holmes


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caused her to suffer special damages, including loss of wages, benefits of

employment, and medical expenses because Ms. Holmes frequently committed

errors with patients which caused Plaintiff stress and which also caused Dr. Craig

to blame Plaintiff for Ms. Holmes’s errors. (Id. at ¶¶ 65-66). Second, Plaintiff

alleges that Southern Health breached its duty to supervise individuals when it

“allow[ed] the relationships between Dr. Craig and Meredith Holmes to continue,”

“fail[ed] to properly investigate Plaintiff’s claims of sexual discrimination and

harassment, and tolerat[e]d the intimidating, hostile, and offensive work

environment at Dr. Craig’s.” (Id. at ¶ 64). Plaintiff further alleges that Southern

Health was aware of the relationship between Dr. Craig and Holmes. (Id. at ¶ 25,

26)

      The undersigned notes that Southern Health does not discuss Plaintiff’s

claim that it breached its duty to supervise individuals in its employ by allowing

the relationships between Dr. Craig and Ms. Holmes to continue, failing to

properly investigate Plaintiff’s claims of sexual discrimination and harassment, and

tolerating an intimidating, hostile, and offensive work environment at Dr. Craig’s

office. (See Doc. 19-1 at 11). For that reason, that aspect of the claim may

proceed.

      As for Plaintiff’s claim that Southern Health negligently hired, retained, and

supervised Ms. Holmes because her lack of a nursing license caused Plaintiff harm,


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for the same reasons discussed above in regard to Dr. Craig, the undersigned finds

that such a claim fails to state a claim for relief.

       Accordingly, the undersigned RECOMMENDS that Southern Health’s

motion to dismiss Count V be GRANTED as to Plaintiff’s claim that Southern

Health negligent hired, retained, and supervised Ms. Holmes because she lacked a

nursing license. To the extent Count V is based on a breach of a duty to supervise

by knowingly allowing the relationship between Dr. Craig and Ms. Holmes to

continue, failing to properly investigate Plaintiff’s claims of sexual discrimination

and harassment, and tolerating an intimidating, hostile, and offensive work

environment at Dr. Craig’s office, it is recommended the claim should be allowed

to proceed because Southern Health has not identified any grounds for dismissal.

                     c. Plaintiff’s claims against SunLink

       Plaintiff’s claims against SunLink for negligent hiring, retention, and

supervision are similar to the ones she raises against Southern Health. (See Am.

Compl. at ¶¶ 63, 64). Plaintiff does not allege, however, any facts that would tend

to establish that SunLink employed Dr. Craig or Ms. Holmes. Therefore, the

undersigned RECOMMENDS that SunLink’s motion to dismiss be GRANTED

as to Plaintiff’s claims for negligent hiring, retention, and supervision.

              3. Tortious Interference (Count VI)

                     a. Plaintiff’s claims against Dr. Craig


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      In her Amended Complaint, Plaintiff alleges two acts of tortious interference

against Dr. Craig. First, Plaintiff claims that Dr. Craig’s “conduct in reporting a

false story to Defendant Southern Health Corp. and other actions resulting in

Plaintiff’s termination constitutes tortious interference with Plaintiff’s employment

with Defendant Southern Health Corp.” (Am. Compl. at ¶ 73). Second, Plaintiff

alleges that “[Dr. Craig] intentionally and improperly interfered with the potential

future employment opportunities and business relationships between Plaintiff and

the general public.” (Id. at ¶ 74).

      Under Georgia law, tortious interference claims, whether for interference

with contractual relations or business relations, require the plaintiff to prove the

following elements:

             (1) improper action or wrongful conduct by the defendant
             without privilege; (2) the defendant acted purposely and with
             malice with the intent to injure; (3) the defendant induced       a
             breach of contractual obligations or caused a party or third
             parties to discontinue or fail to enter into an anticipated
             business relationship with the plaintiff; and (4) the defendant’s
             tortious conduct proximately caused damage to the
             plaintiff.

Kirkland v. Tamplin, 285 Ga.App. 241, 243 645 S.E.2d 653, 655-656 (2007).

      Dr. Craig does not address Plaintiff’s claim that he tortiously interfered with

Plaintiff’s employment with Southern Health. (Doc. 17-1 at 7-10). While there

may be viable arguments for dismissing of this claim against Dr. Craig, the

undersigned will not address it because Dr. Craig did not address it.
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      As for Plaintiff’s allegation that Dr. Craig improperly interfered with

potential employment opportunities and business relationships between Plaintiff

and the general public, the undersigned concludes that such an allegation does not

state a claim upon which relief can be granted under the pleading standard of Rule

8, Twombly and Iqbal.       Plaintiff has not alleged any specific contractual or

business relationship that Dr. Craig improperly interfered with, nor has she

presented the Court with any “well-pleaded facts” that “permit the court to infer

more than the mere possibility of misconduct.”            Iqbal, 556 U.S. at 679.

Furthermore, “to establish a cause of action for interference with prospective

business relations, [a] plaintiff must demonstrate that absent the interference, those

relations were reasonably likely to develop in fact.”         Magnum v. Republic

Industries, Inc., 260 F. Supp. 2d 1229, 1257 (N.D. Ga. 2003) (citing Renden, Inc.

v. Liberty Real Estate L.P., 213 Ga.App. 333, 334-335, 444 S.E.2d 814 (Ga. Ct.

App. 1994).    Here, Plaintiff has not presented any facts to suggest that the

prospective business relations would have developed absent the purported

interference from Dr. Craig.

      Accordingly, the undersigned RECOMMENDS that Dr. Craig’s motion to

dismiss be GRANTED as to Plaintiff’s claim that Dr. Craig interfered with

potential future employment opportunities and business relationships between

Plaintiff and the general public, but notes that Dr. Craig did not move to dismiss


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the claim to the extent it is directed to his alleged interference with Plaintiff’s

employment with Southern Health.

                    b. Plaintiff’s tortious interference claims against Southern
                       Health

      In her Amended Complaint, Plaintiff asserts that “[Southern Health]

intentionally and improperly interfered with the potential future employment

opportunities and business relationships between Plaintiff and the general public.”

(Am. Compl. at ¶ 74). In particular, Plaintiff contends that she “applied for but

was unable to obtain another job in Gilmer County after her termination” and,

“upon information and belief, [Southern Health] … interfered with and prevented

Plaintiff from obtaining another job in the local market.” (Id. at ¶ 77).

      For the same reasons discussed above in regard to Dr. Craig, the

undersigned finds that Plaintiff has not alleged sufficient facts to state a plausible

claim for tortious interference against Southern Health. While Plaintiff argues that

she has alleged a claim for tortious interference by asserting that Southern Health

interfered and prevented Plaintiff from obtaining a job in Gilmer County (see Doc.

24 at 8), Plaintiff’s argument is unconvincing as she still has provided no

allegations concerning a specific contractual or business relationship, allegations of

how Southern Health interfered with those purported relationships, or allegations

of whether those relationships were likely to develop in fact. See Magnum, 260 F.

Supp. 2d at 1257.
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      Accordingly, the undersigned RECOMMENDS that Southern Health’s

motion to dismiss Plaintiff’s claims for tortious interference be GRANTED.

                    c. Plaintiff’s claims against SunLink

       Plaintiff’s claims against SunLink for tortious interference are identical to

the ones she raises against Southern Health. (See Am. Compl. at ¶ 74). Therefore,

for the same reasons discussed above in regard to Southern Health, the undersigned

RECOMMENDS that SunLink’s motion to dismiss be GRANTED as to

Plaintiff’s claims for tortious interference.

             4. Defamation (Count VII)

      Plaintiff alleges defamation claims against all three defendants.

                    a. Plaintiff’s claims against Dr. Craig

      Dr. Craig contends Plaintiff’s defamation claim should be dismissed for two

reasons. First, Dr. Craig argues Plaintiff’s claims should fail because she has not

“alleged with specificity what, if any, special damages she has incurred.” (Doc.

19-1 at 12). Second, Dr. Craig claims that, to the extent Plaintiff contends she was

not required to plead special damages because she asserts a claim of defamation

per se, Plaintiff has not and cannot plead the facts necessary for a slander per se

claim. (Id. at 13). More specifically, Dr. Craig asserts that none of the alleged

defamatory statements reference Plaintiff’s trade or profession. (Id. at 13).

      To establish a cause of action for defamation, “a plaintiff must submit


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evidence of (1) a false and defamatory statement about [herself]; (2) an

unprivileged communication to a third party; (3) fault by the defendant amounting

at least to negligence; and (4) special damages or defamatory words ‘injurious on

their face.’ ” Chaney v. Harrison & Lynam, LLC, 308 Ga.App. 808, 811, 708

S.E.2d 672, 676 (2011) (citing Lewis v. Meredith Corp., 293 Ga.App. 747, 748(1),

667 S.E.2d 716, 718 (2008)).

      A statement may be slanderous per se “if it imputes to another a crime

punishable by law, charges a person with having some contagious disorder or with

being guilty of some debasing act which may exclude her from society, or makes

charges against another in reference to her trade, office or profession.” Webster v.

Wilkins, 217 Ga.App. 194, 196, 456 S.E.2d 699, 701 (1995). Similarly, “[l]ibel per

se consists of a charge that one is guilty of a crime, dishonesty, or immorality.”

Morrison v. Hayes, 176 Ga.App. 128, 129, 335 S.E.2d 596, 597 (1985).

      Plaintiff alleges in her Amended Complaint that Dr. Craig made several

statements that directly impacted her trade and her ability to obtain employment.

(See Am. Compl. at ¶ 83). Specifically, Plaintiff asserts Dr. Craig “fabricated a

basis for Plaintiff’s termination from [Southern Health], communicated to the

general public the false allegations that Plaintiff had an affair with a patient, falsely

alleged that she disclosed HIPPA privileged information, and that she abandoned

her nursing job.” (Id. at ¶ 82). Plaintiff further alleges that Dr. Craig “reported


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this fabricated affair to a patient, to Mike Watkins, a Physician’s Assistant at the

office, to other staff at his office, administrators within [Southern Health], and

others within the general public.” (Id. at ¶ 84).

      The undersigned finds that such allegations are sufficient to state a plausible

claim for defamation. See Atlanta Fiberglass USA, LLC v. KPI, Co., Ltd., Civil

Action No. 1:11–CV–04367–RWS, 2012 WL 5945151, at *6 (N.D. Ga. Nov. 28,

2012) (denying motion to dismiss for failure to state a claim where plaintiff

identified a specific defamatory statement and alleged that the statement was made

to specific customers of plaintiff).

      In addition, “ ‘Slander or oral defamation consists in [i]mputing to another a

crime punishable by law,’ OCGA § 51-5-4(a)(1), which adultery is.” Baskin v.

Rogers, 229 Ga.App. 250, 252, 493 S.E.2d 728, 730 (1997) (citing OCGA § 16-6-

19). “Words charging a person with illegal sexual intercourse with another impute

a crime and are actionable per se.” Id. Consequently, Dr. Craig “[a]ccusing

[Plaintiff] of having sexual relations with any person other than [her husband]

constitutes slander per se, meaning no special damages nor malice need be shown.”

Id. Since Plaintiff has alleged that Dr. Craig falsely stated she had an affair with a

patient, the defamation claim may proceed.

      Accordingly, the undersigned RECOMMENDS that Dr. Craig’s motion to

dismiss Plaintiff’s defamation claim be DENIED.


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                   b. Plaintiff’s claims against Southern Health

      Plaintiff alleges that “[Southern Health] continued to repeat … false and

defamatory allegations to Plaintiff’s future employers through termination

paperwork and other means, as well as to the general public, resulting in Plaintiff

being unable to obtain employment in the community.” (Am. Compl. ¶ 85). The

allegation that Southern Health repeated the falsehoods states a plausible claim for

defamation. See Ivester v. Coe, 33 Ga. App. 620, 127 S.E. 790, 792 (1925)

(“Talebearers are as bad as talemakers. Every repetition of a slander originated by

a third person is a willful publication of it, rendering the person so repeating it

liable to an action, and it is no defense that the speaker did not originate the

slander, but heard it from another, even though he in good faith believed it to be

true.”). As Plaintiff has stated a claim for defamation against Dr. Craig, the

allegation that Southern Health, her employer, repeated the false statements is

sufficient at this stage of the litigation to state a claim.      Accordingly, the

undersigned RECOMMENDS that Southern Health’s motion to dismiss be

DENIED as to Plaintiff’s claim for defamation.

                   c. Plaintiff’s claims against SunLink

      In her Amended Complaint, Plaintiff does not identify what defamatory

statements were allegedly made by SunLink, nor does she allege any facts

concerning the circumstances under which SunLink made the statements. Instead,


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she conclusorily asserts, “All Defendants continued to repeat these false and

defamatory allegations to Plaintiff’s future employers through termination

paperwork and other means, as well as to the general public, resulting in Plaintiff

being unable to obtain employment in the community.” (Am. Compl. at ¶ 85).

Plaintiff has not alleged any facts that SunLink had any involvement in her

employment, her termination, or in making statements about Plaintiff, defamatory

or otherwise.    Her conclusory allegations that SunLink made “false and

defamatory” statements about Plaintiff are simply “naked assertions devoid of

further factual enhancement,” Iqbal, 556 U.S. at 678 (quotation omitted), and thus,

Plaintiff has failed to state a defamation claim against Defendant SunLink.

Therefore, the undersigned RECOMMENDS that SunLink’s motion to dismiss be

GRANTED as to Plaintiff’s claim for defamation.

                                 CONCLUSION

      It is RECOMMENDED that Defendants Dr. James Craig and SunLink’s

motions to dismiss (Docs. 5, 6) and Southern Health’s partial motion to dismiss for

failure to state a claim (Doc. 7) and motion for a more definite statement (Doc. 8)

be DENIED as moot.

      It is further RECOMMENDED that Defendants’ motions to dismiss

Plaintiff’s Amended Complaint be GRANTED in part and DENIED in part. In

particular, it is RECOMMENDED that Dr. Craig’s motion to dismiss (Doc. 17)


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be GRANTED as to Plaintiff’s Title VII claims (Counts I, II, III), Plaintiff’s claim

for intentional infliction of emotional distress (Count IV), Plaintiff’s claim for

negligent hiring, retention, and supervision (Count V), and Plaintiff’s claim for

tortious interference as it relates to Dr. Craig’s purported interference with

potential future employment opportunities and business relationships between

Plaintiff and the general public (Count VI). It is RECOMMENDED that Dr.

Craig’s motion to dismiss (Doc. 17) be DENIED as to Plaintiff’s claim for

defamation (Count VII) and it is noted that Craig did not seek dismissal of Count

VI for tortious interference to the extent Plaintiff alleged he interfered with her

relationship with Southern Health.

      Further it is RECOMMENDED that Southern Health’s motion to dismiss

Plaintiff’s Amended Complaint (Doc. 19) be GRANTED as to Plaintiff’s claim for

intentional infliction of emotional distress (Count IV), her claim for negligent

hiring, retention, and supervision of Ms. Holmes because of a lack of a nursing

license (Count V), and her tortious interference claim (Count VI).             It is

RECOMMENDED that Southern Health’s motion to dismiss be DENIED as to

Plaintiff’s Title VII sexual harassment claim (Count II) and the defamation claim

(Count VII). The undersigned also notes that Southern Health did not move to

dismiss Plaintiff’s negligent hiring, retention, and supervision claim to the extent

that it rests on Southern Health allegedly allowing the relationship between Dr.


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Craig and Ms. Holmes to continue, failing to investigate Plaintiff’s claims of

sexual discrimination and harassment, and tolerating an intimidating, hostile, and

offense work environment, and therefore, it is RECOMMENDED that that claim

be allowed to proceed.

      Finally, it is RECOMMENDED that SunLink’s motion to dismiss (Doc.

18) be GRANTED on all counts.

      Defendants’ motion to stay discovery (Doc. 21) is GRANTED, and

discovery is STAYED until the District Judge decides the pending motions to

dismiss. If any claims survive this review, the parties are DIRECTED to file their

Joint Preliminary Planning Report and Discovery Plan no later than thirty (30)

days after the entry of an Order on Defendants’ motion to dismiss, and the Court

will then issue a Scheduling Order.

      It is so ORDERED, REPORTED, and RECOMMENDED this 11th

day of March, 2013.

                                             /s/ J. CLAY FULLER
                                            J. CLAY FULLER
                                            United States Magistrate Judge




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